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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


    UNITED STATES OF AMERICA,          : Case No.: 3:18CR187(1)TMR-MRM
                                       :
             Plaintiff,                :
                                       :
                  vs.                  :
                                       :
       JUWAN CHINO DILLARD,            :
                                       :
             Defendant.                :



                                     ORDER

      The Court now has pending before it the section 2255 motion

of defendant-petitioner Juwan Chino Dillard to vacate his

sentence on Count One of an Indictment charging him with

conspiring to possess with intent to distribute 40 grams or more

of a mixture or substance containing a detectable amount of

fentanyl (hereinafter “Count One”).           See R. 126, motion to

vacate.    Mr. Dillard alleges, among other things, that his

previous attorney provided ineffective assistance of counsel

when advising about the application of the United States

Sentencing Guidelines to his case.           See id.

      Through a proposed stipulation and settlement agreement,

the United States and Mr. Dillard (via his new counsel) ask this

Court to grant in part this section 2255 motion and, as a

remedy, resentence the defendant to 120 months of imprisonment

on Count One.     See R. 155, notice of revised settlement
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agreement.     Mr. Dillard also has filed a motion seeking to waive

his appearance at any proceedings on his section 2255 motion,

including any resentencing.         See R. 156, motion to resentence in

abstentia; R. 157, waiver of right to appear in person.

      On November 1, 2023, counsel for both parties appeared

before this Court for a proceeding on Mr. Dillard’s section 2255

motion.    During that matter and consistent with his earlier

motion, Mr. Dillard, through counsel, affirmatively moved to

waive and to relinquish any right that he may have to appear

during any proceedings on this matter, including his right to

allocute at any resentencing.         The United States agreed with

this request.     The parties also urged the Court to adopt their

proposed settlement agreement, to grant in part the section 2255

motion, and to resentence Mr. Dillard to 120-months of

imprisonment based on the contents of the original Presentence

Investigation Report (PSR) and their arguments at the hearing.

      Having considered the section 2255 motion, the parties’

proposed settlement agreement, their arguments at the November

1, 2023, proceeding in this matter, and the original PSR, the

Court concludes as follows:

            1.    The Court GRANTS IN PART Mr. Dillard’s section

2255 motion, accepting the parties’ stipulation that his prior

counsel provided ineffective assistance of counsel when advising

about the application of the United States Sentencing Guidelines

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to this case.     The Court DENIES any remaining portions of the

section 2255 motion.

            2.    Pursuant to 28 U.S.C. § 2255(b) and the

stipulation of the parties, the Court ORDERS that the original

judgment in this matter to be vacated, see R. 623, judgment at

623, and that Mr. Dillard be resentenced on Count One of the

Indictment.

            3.    Based on Mr. Dillard’s motion to waive appearance

at these proceedings (including any resentencing), his signed

waiver confirming the same, as well as his counsel’s affirmative

representation during the hearing of November 1, 2023, that his

client waived and relinquished any right that he may have to

appear during any proceedings on this matter, including his

right to allocute at any resentencing, the Court GRANTS Mr.

Dillard’s motion to waive appearance and will proceed

immediately to imposition of an Amended Judgment reflecting the

parties proposed sentencing stipulation.

            4.    The Court hereby ORDERS entry of an Amended

Judgment sentencing Mr. Dillard to a 120-month term of

imprisonment to be followed by 5 years of supervised release on

the same standard conditions and special conditions of

supervision entered in the original judgment.             While adopting

the proposed sentencing stipulation of the parties, the Court

has conducted a plenary sentencing review in doing so.               Without

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objection from the parties, it has adopted and considered the

advisory Sentencing Guidelines contained in the original PSR in

this matter.     In crafting this sentence, the Court also has

considered the section 3553(a) factors as well as the sentencing

arguments of the parties at the proceeding on November 1, 2023.

Given the parties stipulation to the sentence and their

submission of a proposed order in this matter, the Court further

FINDS that neither the United States nor Mr. Dillard have any

procedural or substantive objections to this Court’s amended

sentence.

       IT IS SO ORDERED.


 11/22/23
DATE                           HONORABLE THOMAS M. ROSE
                               UNITED STATES DISTRICT COURT JUDGE




Submitted by:



DATE                           BRENT G. TABACCHI (6276029 - IL)
                               Assistant United States Attorney



DATE                           KEITH A. YEAZEL (0041274)
                               Attorney for Juwan Chino Dillard




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                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing Settlement
Agreement was served this 20th day of November 2023 via the Court’s
ECF System.
                                   /s/ Brent G. Tabacchi
                                   Brent G. Tabacchi




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